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     MANUEL GAUNA
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 2:07-cr-248 WBS
12
                               Plaintiff,                2nd AMENDED STIPULATED MOTION AND
13                                                       [lodged] ORDER TO REDUCE SENTENCE
               v.                                        PURSUANT TO 18 U.S.C. § 3582(c)(2)
14
     MANUEL GAUNA,                                       RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable WILLIAM B. SHUBB

17             Defendant, MANUEL GAUNA, by and through his attorney, Assistant Federal Defender
18   Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On April 19, 2010 this Court sentenced Mr. Gauna to a term of 262 months

25   imprisonment;

26             3.         His total offense level was 35, his criminal history category was V, and the

27   resulting guideline range was 262 to 327 months;

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     Stipulation and Order Re: Sentence Reduction          1
     Case 2:07-cr-00248-WBS Document 1396 Filed 05/13/16 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Gauna was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Gauna’s total offense level has been reduced from 35 to 33, and his amended
5    guideline range is 240 to 262 months after operation of the statutory mandatory minimum;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Gauna’s term of imprisonment to a total term of 240 months. The parties agree
8    that the requested sentence is fair and appropriate pursuant to 18 U.S.C. § 3553(a).
9    Respectfully submitted,
10   Dated: December 8, 2015                            Dated: December 8, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13    /s/_Jason Hitt_____                               /s/ Hannah Labaree_ _
     JASON HITT                                         HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           MANUEL GAUNA
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Gauna is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 35 to 33, resulting in an amended
6    guideline range of 240 to 262 months after operation of the statutory mandatory minimum.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in April 2010 is
8    reduced to a term of 240 months, a sentence that is fair and reasonable pursuant to 18 U.S.C. §
9    3553(a).
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             Unless otherwise ordered, Mr. Gauna shall report to the United States Probation Office
15   within seventy-two hours after his release.
16   Dated: May 13, 2016
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     Stipulation and Order Re: Sentence Reduction        3
